                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              3:08-CR-00134-RJC-DSC
USA                                              )
                                                 )
   v.                                            )                           ORDER
                                                 )
SANTOS CABALLERO FERNANDEZ (23)                  )
                                                 )

        THIS MATTER is before the Court on its own motion.

        The Court previously ordered Federal Defenders of Western North Carolina, Inc., to

designate counsel promptly to represent the defendant for the remainder of this case, unless he

retains other counsel. (Doc. No. 1533). That office has informed the Court that David Q.

Burgess, who represented the defendant at trial, at sentencing, and on appeal, is available for

appointment.

        IT IS, THEREFORE, ORDERED that David Q. Burgess is appointed to represent the

defendant before this Court in remand proceedings.

        The Clerk is directed to certify copies of this Order the defendant, Federal Defenders of

Western North Carolina, Inc., the United States Attorney, the United States Marshals Service,

and the United States Probation Office.


                                                     Signed: June 10, 2013




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